Case 1:17-cr-00075-RBJ Document 45 Filed 05/23/18 USDC Colorado Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                JUDGE R. BROOKE JACKSON


Civil Action:            17-cr-00075-RBJ                      Date: May 23, 2018
Courtroom Deputy:        Julie Dynes                          Court Reporter: Sarah Mitchell
Interpreter:             N/A                                  Probation: N/A

               Parties                                                     Counsel

UNITED STATES OF AMERICA                                                 Judith Smith
                Plaintiff

v.

1. ADAM NAUVEED HAYAT                                                   Matthew Golla
               Defendant


                                     COURTROOM MINUTES


CHANGE OF PLEA HEARING

Court in session: 8:32 a.m.

Appearances of counsel.

Defendant is present in custody.

The Plea Agreement (Court Exhibit 1) and Defendant’s Statement in Advance of Plea of Guilty
(Court Exhibit 2) are tendered to the Court.

Defendant is sworn.

Defendant's right to trial by jury and other constitutional rights explained.

Factual basis for the plea stated.

Defendant advised of maximum penalties, sentencing guidelines and appeal rights.

Defendant enters plea of guilty to Counts 1, 2 and 3 of the Information pursuant to the plea
agreement.
Case 1:17-cr-00075-RBJ Document 45 Filed 05/23/18 USDC Colorado Page 2 of 2




The Court finds that the defendant has knowingly, intelligently, and voluntarily entered a plea of
guilty.

ORDERED: The plea of guilty to Counts 1, 2 and 3 of the Information entered by the
         defendant is accepted, the defendant is found guilty of the crime charged.

               The Probation Department shall conduct a presentence investigation and file
               a presentence report as required by 18 U.S.C. § 3552 and Fed.R.Crim.P. 32.

               Sentencing is set for August 14, 2018, at 8:30 a.m. before the Honorable
               Judge R. Brooke Jackson in Courtroom A-902, Ninth Floor, Alfred A. Arraj
               United States Courthouse, 901 19th Street, Denver, Colorado 80294.

               The defendant is remanded to the custody of the United States Marshal.

Court in Recess: 8:48 a.m.            Hearing concluded.            Total time in Court: 00:16
